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Case 1:07-cv-00039-RAE ECF No.1, PagelD.1 Filed 01/16/07 Page lof 19 .,
ors

Bote Tau Ar

Norman Nguyen, an individual

ROBERT LARION, an individual, and
GOLD ROCK HOLDINGS, INC., a Nevada
corporation, and DOES 1-20 inclusive,

Norman Nguyen
1200 Heirloom View

Fax: (517) ) ‘381-5067

Email: 2 t
PRO SE nna n @ameri tech. ne

Okemos, MI 48864 ‘
Phone: (517) 38)/-50§7 iy ve veneer

1:O07CVO003

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

Richard Alan Enslen
Senior, U.S. District Jud

Civil No.:
Plaintiff,

vs.

FRAUD, NEGLIGENT MISREPRESENTATION,
BREACH OF FIDUCIARY DUTY VIOLATION OF
U.S. SECURITIES ACT OF 1934,

RULE 10(B)

Defendants.

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Complaint, claims against Defendants ROBERT LARION (hereinafter referred to

as LARION) and GOLD ROCK HOLDINGS, INC. (hereinafter referred to as GOLD

ROCK}

Plaintiff Norman Nguyen, hereinafter referred to as Plaintiff in this

as follows:
JURISDICTION AND VENUE

1. This is a civil action brought under the Securities Exchange Act of
1934 (“Exchange Act”), and Exchange Act Rule 10b-5, and the common
law concerning fraud and misrepresentation.

2. Jurisdiction of the Court is based on Sections 21 (d), 21 (e), and
27 of the Exchange Act [15 U.S.C. Sections 78u(d) and (e) and 78
aa], and Sections 1331 and 1332 of Title 28 of the United States

Code.

[Summary of pleading] - 1

 

 

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Case 1:07-cv-00039-RAE ECF No.1, PagelD.2 Filed 01/16/07 Page 2 of 19

Plaintiff Norman Nguyen is a citizen of the State of Michigan and
he resides in the State of Michigan. Norman Nguyen is a shareholder
of Defendant GOLD ROCK HOLDINGS, INC.

Plaintiff is informed and believes that Defendant LARION is a
citizen and resident of the State of Washington.

Defendant GOLD ROCK is a corporation duly organized and validly
existing under the laws of the state of Nevada, whose principal
place of business is in Mill Creek, Washington. During the
relevant time period, GOLD ROCK'S common stock was registered
pursuant to Section 12 (b) of the Exchange Act and traded on the
pink sheet exchange. In 2004, GOLD ROCK'S principal place of
business was Encinitas, California.

Defendants DOES 1 thru 20 inclusive, are sued herein under
fictitious names. Their true names and capacities are unknown to
Plaintiff. When their true names and capacities are ascertained,
Plaintiff will amend this Complaint by inserting their true names
and capacities herein. (Plaintiff is informed and believes, and
thereon alleges, that each of the fictitiously named defendants is
responsible in some manner for the occurrences herein alleged, and
that Plaintiff’s damages as herein alleged were proximately caused
by those defendants.)

This Court has pendent jurisdiction over the state law claims
which, together with those arising under the laws of the United
States, have a common nucleus of operative facts and constitute a
Single controversy. Every issue of law and fact is wholly between
citizens of different states. The total amount of the controversy,

exclusive of interest and costs exceeds the sum of $75,000.00.

[Summary of pleading] - 2

 
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Case 1:07-cv-00039-RAE ECF No.1, PagelD.3 Filed 01/16/07 Page 3 of 19

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Venue lies in this District pursuant to Section 27 of the Exchange
Act [15 U.S.C. Section 78aa] because certain acts or transactions
constituting the violations occurred in this District.
In connection with the acts, practices, and courses of business
alleged herein, the Defendants, directly or indirectly, made use of
the means and instruments of transportation and communication in
interstate commerce, and of the mails and of the facilities of the
national securities exchange.
FACTUAL ALLEGATIONS
[Violation of rule 10(b) of the Securities Act
Of 1934 and Exchange Act Rule 10b-5]

From November 29, 2004, until September 28, 2006, Defendant
LARION, as President and Chairman of the Board of Defendant GOLD
ROCK prepared and released to the public information concerning
contractual dealings between Gold Rock and its subsidiaries and
various public and private entities that was false and misleading.

On November 29, 2004, the Defendants announced a Joint Venture
Agreement which was being negotiated for the erection of four wind
turbines with a return to the Company of 20% of the income going to
the Company over the life of the Agreement with the power being
sold to Xcel Energy of Colorado (attached Exhibit “A”). In fact,
Defendant Gold Rock had no reasonable opportunity of obtaining the
contract or the funding to produce the wind turbines for the
project.

On December 1, 2004, the Defendants announced an agreement with
BO Energy, a New York management company whereby Gold Rock’s
wholly-owned subsidiary V.A.W.T. Industries LLC and BOQ Energy would
negotiate a changeover to V.A.W.T.'S Wind Turbine Technology in
buildings that are currently serviced with conventional Electrical

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Case 1:07-cv-00039-RAE ECF No.1, PagelD.4 Filed 01/16/07 Page 4 of 19

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Grid Service (See Exhibit B). In fact, BQ Energy and Defendant
Gold Rock had no reasonable opportunity of negotiating a changeover
to V.A.W.T.'S Wind Turbine Technology in buildings that are
currently serviced with conventional Electrical Grid Service.

On November 30, 2005, the Defendants announced the signing of a
licensing agreement to manufacture Gold Rock’s Z-Mix, a patented
building material. The Defendants said that the Agreement was
signed with Octagon Resources LTD, and further stated that Octagon
is in the business of building, consulting and contracting
commercial building and development projects, and that they also
were in the business of constructing single-family homes, and that
Octagon had ongoing projects in the Bahamas (see Exhibit C). In
fact, Defendant Gold Rock had no reasonable opportunity of
obtaining the any business from or through Octagon and had no
reasonable expectation of being able to fund any of its obligations
pursuant to the licensing agreement.

On January 4, 2006, the Defendants announced that its subsidiary
V.A.W.T. Industries, LLC had finalized a purchase agreement for
three wind turbines with estimated revenues of $1.5 million USD and
delivery scheduled for the 3x4 quarter of 2006 (see Exhibit D). In
fact, Defendant Gold Rock had no reasonable opportunity of
performing on the contract or any reasonable expectation of funding
the production of the wind turbines.

On January 23, 2006 the Defendants announced that its subsidiary
V.A.W.T. Industries, LLC had finalized a purchase agreement for
fifteen (15) wind turbines with Blue Water Industries, LTD, and an
additional option for five (5) turbines. They went on to state
that the sales and options would generate and estimated $10.0

million USD of revenues and delivery would start in the 4°? quarter

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Case 1:07-cv-00039-RAE ECF No.1, PagelD.5 Filed 01/16/07 Page 5 of 19

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of 2006 (see attached Exhibit E). In fact, Defendant Gold Rock had
no reasonable opportunity of performing on the contract or any
reasonable expectation of funding the production of the wind
turbines.

On March 21, 2006 the Defendants announced the Company had
signed documents for a $500,000,000 humanitarian endowment to build
approximately 3,000 homes to replace ones destroyed by Hurricane
Katrina (see attached Exhibit F). In fact, Defendant Gold Rock had
no reasonable opportunity of getting or performing on any contract
for a humanitarian endowment or any reasonable expectation of
funding any such contract.

On September 28, 2006 the Defendants announced that they had
negotiated a joint venture agreement between Gold Rock’s wholly-
owned subsidiary, Renewable Forestry Resources, LLC and Lakeway
Transport Services, Inc. They went on to state that the project was
expected to last for several years and it had gross income
projections of $2.2 million per month (see attached Exhibit G). In
fact, Defendant Gold Rock’s wholly-owned subsidiary, Renewable
Forestry Resources, LLC, had no reasonable opportunity of getting
or performing on any contract with Lakeway Transport Services, Inc.
or any reasonable expectation of funding any such contract.

As a proximate result of Defendants actions, they used the means
or instrumentalities of interstate commerce, or by use of the mails
and of the facilities of a national securities exchange, in
connection with the purchase or sales of securities, have employed
devices, schemes, or artifices to defraud, have made untrue
statements of material facts or omitted to state material facts
necessary in order to make the statements made, in the light of the

circumstances under which they were made, not misleading, or have

[Summary of pleading] - 5

 
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Case 1:07-cv-00039-RAE ECF No.1, PagelD.6 Filed 01/16/07 Page 6 of 19

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engaged in acts, practices or course of business which operate or
would operate as a fraud or deceit upon the Plaintiff.

By reason of the foregoing Defendants have violated Section 10(b)
of the Exchange Act [15 U.S.C. Section 78) (b)], and Exchange Act
Rule 10b~-5 [17 C.F.R. Section 240.10b-5].

Plaintiff has, as a result of Defendants’ illegal actions
suffered damages of $1,000,000.00.

The aforementioned conduct of the Defendants was an intentional
misrepresentation, deceit, or concealment of a material fact known
to Defendants with the intention on the part of Defendants of
depriving Plaintiff of property or legal remedies, or otherwise
causing injury, and was despicable conduct that subjected Plaintiff
to cruel and unjust hardship in conscious disregard of Plaintiff's
rights, so as to justify an award of exemplary and punitive
damages.

FRAUD

Plaintiff repeats and realleges paragraphs 1 through 21 fully as
if set forth herein.

On November 29, 2004, the Defendants announced a Joint Venture
Agreement which was being negotiated for the erection of four wind
turbines with a return to the Company of 20% of the income going to
the Company over the life of the Agreement with the power being
sold to Xcel Energy of Colorado (attached Exhibit “A”). In fact,
Defendant Gold Rock had no reasonable opportunity of obtaining the
contract or the funding to produce the wind turbines for the
project.

The representations made by Defendants were in fact false. The

true facts were that Defendant Gold Rock had no reasonable

[Summary of pleading] - 6

 
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Case 1:07-cv-00039-RAE ECF No.1, PagelD.7 Filed 01/16/07 Page 7 of 19

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opportunity of obtaining the contract or the funding to produce the
wind turbines for the project.

At the time the Defendants made these representations, they knew
the representations to be false and made them with the intent to
deceive Plaintiff and to induce him to forego selling any of his
shares of common stock of GOLD ROCK and to induce him to purchase
more shares of said stock.

Defendants intended to and did induce the Plaintiff to forego
selling any of his shares of common stock of GOLD ROCK and to
induce him to purchase more shares of said stock and defraud the
Plaintiff to act in reliance on these representations in the matter
herein alleged, or with the expectation that Plaintiff would so
act.

Plaintiff at the time these representations were made was
ignorant of the falsity of Defendants’ representations and believed
them to be true. In reliance on these representations Plaintiff
refrained from selling his common stock. Had Plaintiff known the
true facts he never would have refrained from selling his common
stock.

On December 1, 2004, the Defendants announced an agreement with
BOQ Energy, a New York management company whereby Gold Rock's
wholly-owned subsidiary V.A.W.T. Industries LLC and BQ Energy would
negotiate a changeover to V.A.W.T.’S Wind Turbine Technology in
buildings that are currently serviced with conventional Electrical
Grid Service (See Exhibit B).

The representations made by Defendants were in fact false. The
true facts were that BO Energy and Defendant Gold Rock had no

reasonable opportunity of negotiating a changeover to V.A.W.T.’S

[Summary of pleading] - 7

 
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Case 1:07-cv-00039-RAE ECF No.1, PagelD.8 Filed 01/16/07 Page 8 of 19

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Wind Turbine Technology in buildings that are currently serviced
with conventional Electrical Grid Service.

At the time the Defendants made these representations, they knew
the representations to be false and made them with the intent to
deceive Plaintiff and to induce him to forego selling any of his
shares of common stock of GOLD ROCK and to induce him to purchase
more shares of said stock.

Defendants intended to and did induce the Plaintiff to forego
selling any of his shares of common stock of GOLD ROCK and to
induce him to purchase more shares of said stock and defraud the
Plaintiff to act in reliance on these representations in the matter
herein alleged, or with the expectation that Plaintiff would so
act.

Plaintiff at the time these representations were made was
ignorant of the falsity of Defendants’ representations and believed
them to be true. In reliance on these representations Plaintiff
refrained from selling his common stock. Had Plaintiff known the
true facts he never would have refrained from selling his common
stock.

On November 30, 2005, the Defendants announced the signing of a
licensing agreement to manufacture Gold Rock’s Z-Mix, a patented
building material. The Defendants said that the Agreement was
signed with Octagon Resources LTD, and further stated that Octagon
is in the business of building, consulting and contracting
commercial building and development projects, and that they also
were in the business of constructing single-family homes, and that
Octagon had ongoing projects in the Bahamas (see Exhibit C).

The representations made by Defendants were in fact false. The

true facts were that Defendant Gold Rock had no reasonable

[Summary of pleading] - 8

 
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Case 1:07-cv-00039-RAE ECF No.1, PagelD.9 Filed 01/16/07 Page 9 of 19

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opportunity of obtaining any business from or through Octagon and
had no reasonable expectation of being able to fund any of its
obligations pursuant to the licensing agreement.

At the time the Defendants made these representations, they knew
the representations to be false and made them with the intent to
deceive Plaintiff and to induce him to forego selling any of his
shares of common stock of GOLD ROCK and to induce him to purchase
more shares of said stock.

Defendants intended to and did induce the Plaintiff to forego
selling any of his shares of common stock of GOLD ROCK and to
induce him to purchase more shares of said stock and defraud the
Plaintiff to act in reliance on these representations in the matter
herein alleged, or with the expectation that Plaintiff would so
act.

Plaintiff at the time these representations were made was
ignorant of the falsity of Defendants’ representations and believed
them to be true. In reliance on these representations Plaintiff
refrained from selling his common stock. Had Plaintiff known the
true facts he never would have refrained from selling his common
stock.

On January 4, 2006, the Defendants announced that its subsidiary
V.A.W.T. Industries, LLC had finalized a purchase agreement for
three wind turbines with estimated revenues of $1.5 million USD and
delivery scheduled for the 3°? quarter of 2006 (see Exhibit D).

The representations made by Defendants were in fact false. The
true facts were that Defendant Gold Rock had no reasonable
opportunity of performing on the contract or any reasonable

expectation of funding the production of the wind turbines.

[Summary of pleading] - 9

 
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Case 1:07-cv-00039-RAE ECF No.1, PagelD.10 Filed 01/16/07 Page 10 of 19

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At the time the Defendants made these representations, they knew
the representations to be false and made them with the intent to
deceive Plaintiff and to induce him to forego selling any of their
shares of common stock of GOLD ROCK and to induce him to purchase
more shares of said stock.

Defendants intended to and did induce the Plaintiff to forego
selling any of his shares of common stock of GOLD ROCK and to
induce him to purchase more shares of said stock and defraud the
Plaintiff to act in reliance on these representations in the matter
herein alleged, or with the expectation that Plaintiff would so
act.

Plaintiff at the time these representations were made was
ignorant of the falsity of Defendants’ representations and believed
them to be true. In reliance on these representations Plaintiff
refrained from selling his common stock. Had Plaintiff known the
true facts he never would have refrained from selling his common
stock.

On January 23, 2006 the Defendants announced that its subsidiary
V.A.W.T. Industries, LLC had finalized a purchase agreement for
fifteen (15) wind turbines with Blue Water Industries, LTD, and an
additional option for five (5) turbines. They went on to state
that the sales and options would generate and estimated $10.0
million USD of revenues and delivery would start in the 4" quarter
of 2006 (see attached Exhibit E).

The representations made by Defendants were in fact false. The
true facts were Defendant Gold Rock had no reasonable opportunity
of performing on the contract or any reasonable expectation of

funding the production of the wind turbines.

[Summary of pleading] - 10

 
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Case 1:07-cv-00039-RAE ECF No.1, PagelD.11 Filed 01/16/07 Page 11 of 19

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At the time the Defendants made these representations, they knew
the representations to be false and made them with the intent to
deceive Plaintiff and to induce him to forego selling any of his
shares of common stock of GOLD ROCK and to induce him to purchase
more shares of said stock.

Defendants intended to and did induce the Plaintiff to forego
selling any of his shares of common stock of GOLD ROCK and to
induce him to purchase more shares of said stock and defraud the
Plaintiff to act in reliance on these representations in the matter
herein alleged, or with the expectation that Plaintiff would so
act.

Plaintiff at the time these representations were made was
ignorant of the falsity of Defendants’ representations and believed
them to be true. In reliance on these representations Plaintiff
refrained from selling his common stock. Had Plaintiff known the
true facts he never would have refrained from selling his common
stock.

On March 21, 2006 the Defendants announced the Company had signed
documents for a $500,000,000.00 humanitarian endowment to build
approximately 3000 homes to replace ones destroyed by Hurricane
Katrina (see attached Exhibit F).

The representations made by Defendants were in fact false. The
true facts were that Defendant Gold Rock had no reasonable
opportunity of getting or performing on any contract for a
humanitarian endowment or any reasonable expectation of funding any
such contract.

At the time the Defendants made these representations, they knew
the representations to be false and made them with the intent to

deceive Plaintiff and to induce him to forego selling any of his

[Summary of pleading] - il

 
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Case 1:07-cv-00039-RAE ECF No.1, PagelD.12 Filed 01/16/07 Page 12 of 19

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shares of common stock of GOLD ROCK and to induce him to purchase
more shares of said stock.

Defendants intended to and did induce the Plaintiff to forego
selling any of his shares of common stock of GOLD ROCK and to
induce him to purchase more shares of said stock and defraud the
Plaintiff to act in reliance on these representations in the matter
herein alleged, or with the expectation that Plaintiff would so
act.

Plaintiff at the time these representations were made was
ignorant of the falsity of Defendants’ representations and believed
them to be true. In reliance on these representations Plaintiff
refrained from selling his common stock. Had Plaintiff known the
true facts he never would have refrained from selling their common
stock.

On September 28, 2006 the Defendants announced that they had
negotiated a joint venture agreement between Gold Rock’s wholly-
owned subsidiary, Renewable Forestry Resources, LLC and Lakeway
Transport Services, Inc. They went on to state that the project was
expected to last for several years and it had gross income
projections of $2.2 million per month (see attached Exhibit G). In
fact, Defendant Gold Rock’s wholly-owned subsidiary, Renewable
Forestry Resources, LLC, had no reasonable opportunity of getting
or performing on any contract with Lakeway Transport Services, Inc.
or any reasonable expectation of funding any such contract.

The representations made by Defendants were in fact false. The
true facts were that Defendant Gold Rock’s wholly-owned subsidiary,
Renewable Forestry Resources, LLC, had no reasonable opportunity of

getting or performing on any contract with Lakeway Transport

[Summary of pleading] - 12

 
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Case 1:07-cv-00039-RAE ECF No.1, PagelD.13 Filed 01/16/07 Page 13 of 19

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Services, Inc. or any reasonable expectation of funding any such
contract.

At the time the Defendants made these representations, they knew
the representations to be false and made them with the intent to
deceive Plaintiff and to induce him to forego selling any of him
shares of common stock of GOLD ROCK and to induce him to purchase
more shares of said stock.

Defendants intended to and did induce the Plaintiff to forego
selling any of his shares of common stock of GOLD ROCK and to
induce him to purchase more shares of said stock and defraud the
Plaintiff to act in reliance on these representations in the matter
herein alleged, or with the expectation that Plaintiff would so
act.

Plaintiff at the time these representations were made was
ignorant of the falsity of Defendants’ representations and believed
them to be true. In reliance on these representations Plaintiff
refrained from selling his common stock. Had Plaintiff known the
true facts he never would have refrained from selling his common
stock

As a direct and proximate result of the fraudulent conduct of the
Defendants as alleged the Plaintiff has been damaged in the amount
of $50,000.00.

The aforementioned conduct of the Defendants was an intentional
misrepresentation, deceit, or concealment of a material fact known
to Defendants with the intention on the part of Defendants of
depriving Plaintiff of property or legal remedies, or otherwise
causing injury, and was despicable conduct that subjected Plaintiff

to cruel and unjust hardship in conscious disregard of Plaintiff’s

{Summary of pleading] - 13

 

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Case 1:07-cv-00039-RAE ECF No.1, PagelD.14 Filed 01/16/07 Page 14 of 19

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rights, so as to justify an award of exemplary and punitive
damages.
NEGLIGENT MISREPRESENTATION

Plaintiff repeats and realleges paragraphs 1 through 59 fully as
if set forth herein.

On November 29, 2004, the Defendants announced a Joint Venture
Agreement which was being negotiated for the erection of four wind
turbines with a return to the Company of 20% of the income going to
the Company over the life of the Agreement with the power being
sold to Xcel Energy of Colorado (attached Exhibit “A”).

When the Defendants made these representations they had no
reasonable grounds for believing them to be true in that Defendant
Gold Rock had no reasonable opportunity of obtaining the contract
or the funding to produce the wind turbines for the project.

Defendants made these representations with the intention of
inducing Plaintiff to act in reliance on them in the manner alleged
herein, or with the expectation that Plaintiff would so act.

Plaintiff, at the time these representations were made and at all
times since, believed the representations to be true and did forego
selling any of his shares of common stock of GOLD ROCK and was
induced to purchase more shares of said stock.

On December 1, 2004, the Defendants announced an agreement with
BO Energy, a New York management company whereby Gold Rock's
wholly-owned subsidiary V.A.W.T. Industries LLC and BO Energy would
negotiate a changeover to V.A.W.T.’S Wind Turbine Technology in
buildings that are currently serviced with conventional Electrical
Grid Service (See Exhibit B).

When the Defendants made these representations they had no

reasonable grounds for believing them to be true in that Defendant

(Summary of pleading] - 14

 
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Case 1:07-cv-00039-RAE ECF No.1, PagelD.15 Filed 01/16/07 Page 15 of 19

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Gold Rock had no reasonable opportunity of negotiating a changeover
to V.A.W.T.’S Wind Turbine Technology in buildings that are
currently serviced with conventional Electrical Grid Service.

Defendants made these representations with the intention of
inducing Plaintiff to act in reliance on them in the manner alleged
herein, or with the expectation that Plaintiff would so act.

Plaintiff, at the time these representations were made and at all
times since, believed the representations to be true and did forego
selling any of his shares of common stock of GOLD ROCK and was
induced to purchase more shares of said stock.

On November 30, 2005, the Defendants announced the signing of a
licensing agreement to manufacture Gold Rock’s Z-Mix, a patented
building material. The Defendants said that the Agreement was
signed with Octagon Resources LTD, and further stated that Octagon
is in the business of building, consulting and contracting
commercial building and development projects, and that they also
were in the business of constructing single-family homes, and that
Octagon had ongoing projects in the Bahamas (see Exhibit C).

When the Defendants made these representations they had no
reasonable grounds for believing them to be true in that Defendant
Gold Rock had no reasonable opportunity of obtaining the any
business from or through Octagon and had no reasonable expectation
of being able to fund any of its obligations pursuant to the
licensing agreement.

Defendants made these representations with the intention of
inducing Plaintiff to act in reliance on them in the manner alleged
herein, or with the expectation that Plaintiff would so act.

Plaintiff, at the time these representations were made and at all

times since, believed the representations to be true and did forego

[Summary of pleading] - 15

 
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Case 1:07-cv-00039-RAE ECF No.1, PagelD.16 Filed 01/16/07 Page 16 of 19

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selling any of his shares of common stock of GOLD ROCK and was
induced to purchase more shares of said stock.

On January 4, 2006, the Defendants announced that its subsidiary
V.A.W.T. Industries, LLC had finalized a purchase agreement for
three wind turbines with estimated revenues of $1.5 million USD and
delivery scheduled for the 3™ quarter of 2006 (see Exhibit D).

When the Defendants made these representations they had no
reasonable grounds for believing them to be true in that Defendant
Gold Rock had no reasonable opportunity of obtaining any business
from or through Octagon and had no reasonable expectation of being
able to fund any of its obligations pursuant to the licensing
agreement.

Defendants made these representations with the intention of
inducing Plaintiff to act in reliance on them in the manner alleged
herein, or with the expectation that Plaintiff would so act.

Plaintiff, at the time these representations were made and at all
times since, believed the representations to be true and did forego
selling any of his shares of common stock of GOLD ROCK and was
induced to purchase more shares of said stock.

On January 23, 2006 the Defendants announced that its subsidiary
V.A.W.T. Industries, LLC had finalized a purchase agreement for
fifteen (15) wind turbines with Blue Water Industries, LTD, and an
additional option for five (5) turbines. They went on to state
that the sales and options would generate and estimated $10.0
million USD of revenues and delivery would start in the 4° quarter
of 2006 (see attached Exhibit E).

When the Defendants made these representations they had no
reasonable grounds for believing them to be true in that Defendant

Gold Rock had no reasonable opportunity of obtaining the any

[Summary of pleading] - 16

 
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Case 1:07-cv-00039-RAE ECF No.1, PagelD.17 Filed 01/16/07 Page 17 of 19

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business from or through Blue Water Industries, LTD, and had no
reasonable expectation of being able to fund any of its obligations
pursuant to the licensing agreement.

Defendants made these representations with the intention of
inducing Plaintiff to act in reliance on them in the manner alleged
herein, or with the expectation that Plaintiff would so act.

Plaintiff, at the time these representations were made and at all
times since, believed the representations to be true and did forego
selling any of his shares of common stock of GOLD ROCK and was
induced to purchase more shares of said stock.

On March 21, 2006 the Defendants announced the Company had signed
documents for a $500,000,000 humanitarian endowment to build
approximately 3000 homes to replace ones destroyed by Hurricane
Katrina (see attached Exhibit F}.

When the Defendants made these representations they had no
reasonable grounds for believing them to be true in that Defendant
Gold Rock had no reasonable opportunity of obtaining the
humanitarian endowment, and had no reasonable expectation of being
able to fund any of its obligations pursuant to the endowment.

Defendants made these representations with the intention of
inducing Plaintiff to act in reliance on them in the manner alleged
herein, or with the expectation that Plaintiff would so act.

Plaintiff, at the time these representations were made and at all
times since, believed the representations to be true and did forego
selling any of his shares of common stock of GOLD ROCK and was
induced to purchase more shares of said stock.

On September 28, 2006 the Defendants announced that they had
negotiated a joint venture agreement between Gold Rock’s wholly-

owned subsidiary, Renewable Forestry Resources, LLC and Lakeway

[Summary of pleading] - 17

 

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Case 1:07-cv-00039-RAE ECF No.1, PagelD.18 Filed 01/16/07 Page 18 of 19

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Transport Services, Inc. They went on to state that the project was
expected to last for several years and it had gross income
projections of $2.2 million per month (see attached Exhibit G).

When the Defendants made these representations they had no
reasonable grounds for believing them to be true in that Defendant
Gold Rock had no reasonable opportunity of getting or performing on
any contract with Lakeway Transport Services, Inc. or any
reasonable expectation of funding any such contract.

Defendants made these representations with the intention of
inducing Plaintiff to act in reliance on them in the manner alleged
herein, or with the expectation that Plaintiff would so act.

Plaintiff, at the time these representations were made and at all
times since, believed the representations to be true and did forego
selling any of his shares of common stock of GOLD ROCK and was
induced to purchase more shares of said stock.

As a direct and proximate result of the fraudulent conduct of the
Defendants as alleged the Plaintiff have been damaged in the amount
of $50,000.00.

BREACH OF FIDUCIARY DUTY

Plaintiff repeats and realleges paragraphs 1 through 89 fully as
if set forth herein.

Defendant GOLD ROCK had a fiduciary to its shareholders that
included the duty not to defraud or misrepresent its position to
its shareholders.

Defendant LARION as an officer and director of Defendant GOLD
ROCK had a fiduciary to the shareholders of GOLD ROCK that included
the duty not to defraud or misrepresent its position to its

shareholders.

[Summary of pleading] - 18

 
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Case 1:07-cv-00039-RAE ECF No.1, PagelD.19 Filed 01/16/07 Page 19 of 19

93. Defendants breached their respective duties to the Plaintiff, who
was and is a shareholder of GOLD ROCK, by fraudulently misstating
the existence of viable contracts, business arrangements, and
incomes potential and by negligently misrepresenting the same to
the general public and the shareholders.

94. As a direct and proximate result of the fraudulent conduct of the
Defendants as alleged the Plaintiff has been damaged in the amount
of $1,000,000.00.

WHEREFORE, Plaintiff prays judgment against each of the Defendants:

1. In the amount of $1,000,000.00 actual damages for Securities
violations and breach of fiduciary duty;

2. In the amount of $50,000.00 actual damages for fraud and
negligent misrepresentation;

3. $100,000.00 punitive damages.

4, Interest at the rate of 10% per annum from the November 29, 2004;
5. Plaintiff's costs and expenses incurred herein;
6. Such other and further relief as the Court deems just and proper.

DEMAND FOR A JURY TRIAL

 

Plaintiff Norman Nguyen hereby demands trial by jury of all eligible

claims.

Dated: O OL
NMetrentee lk, a
Norman Nguyen,
Pro Se

[Summary of pleading] - 19

 
